











Opinion issued July 24, 2009









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In The
Court of Appeals
For The
First District of Texas




NO. 01-08-00134-CV




JOHN L. KENNAMER, INDIVIDUALLY, AND JOHN L. KENNAMER &amp;
MORA KENNAMER D/B/A K BAR LAND &amp; CATTLE COMPANY,
Appellants

V.

THE ESTATE OF JOHN ALWIN NOBLITT, DECEASED, CHARLES R.
NOBLITT, JR., INDIVIDUALLY AND AS ADMINISTRATOR OF THE
ESTATE OF JOHN ALWIN NOBLITT, DECEASED, AND JOANN JONES,
INDIVIDUALLY AND AS HEIR OF THE ESTATE OF JOHN ALWIN
NOBLITT, DECEASED,  Appellees




On Appeal from the County Court at Law No. 2 and Probate Court
Brazoria County, Texas
Trial Court Cause No. PR027065-A




OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant, John L. Kennamer, was driving an all-terrain vehicle (“ATV”) on
his ranch when he was attacked and injured by a cow, allegedly owned by appellees,
the Estate of John Alwin Noblitt, Deceased, Charles R. Noblitt, Jr., Individually and
as Administrator of the Estate of John Alwin Noblitt, Deceased, and Joann Jones,
Individually and as Heir of the Estate of John Alwin Noblitt, Deceased.  Appellants,
Kennamer, Individually, and Kennamer &amp; Mora Kennamer d/b/a K Bar Land &amp;
Cattle Company, sued appellees for negligence, alleging that appellees had failed to
keep “their wild cows” on their property and had failed to warn Kennamer of the
“wild cows and the injuries the wild cows could inflict.”  Appellees moved for 
summary judgment on the ground that the evidence conclusively showed that they did
not own the cow, which the trial court granted.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Our memorandum opinion in this cause issued on January 8, 2009. Appellants
timely moved for rehearing to the panel and for en banc reconsideration to the Court. 
On March 3, 2009, the Court denied appellants’ rehearing motion, but their motion
for en banc reconsideration remained pending, thus maintaining our plenary power
over the appeal. See Tex. R. App. P. 19.1(b); see also City of San Antonio v. Hartman,
201 S.W.3d 667, 670–71 (Tex. 2006).  During that plenary period, we now sua sponte
withdraw our opinion and judgment issued January 8, 2009 and issue this opinion and
judgment in its stead.  See Univ. of Tex. Health Sci. Ctr. at Houston v. Gutierrez, 237
S.W.3d 869, 870 (Tex. App.—Houston [1st Dist.] 2007, pet. denied).  Nonetheless,
our disposition remains unchanged.  Appellants’ motion for en banc reconsideration
is rendered moot by our withdrawing and reissuing our opinion. Cf. Brookshire Bros.
v. Smith, 176 S.W.3d 30, 41 n.4 (Tex. App.—Houston [1st Dist.] 2004, pet. denied)
(op. on reh’g) (noting that motion for en banc reconsideration becomes moot when
motion for rehearing is granted and new opinion and judgment issue).


 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In what we construe as one issue, appellants contend that the trial court erred
by granting summary judgment in favor of appellees.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We affirm.
Background
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;John A. Noblitt, now deceased, raised cattle on his ranch in Brazoria County,
Texas.  Alan Fitzgerald grew up on an adjoining ranch.  For nearly 50 years, Noblitt
enlisted Fitzgerald’s help to work his cattle.  When Noblitt became unable to take
care of his cattle, Fitzgerald took over.  In 2001, Fitzgerald began running his own
cattle with Noblitt’s herd. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;After Noblitt’s death in 2003, Fitzgerald continued to look after the cattle.  In
April 2004, some of the cattle escaped onto another adjoining ranch, which was
owned by appellant, Kennamer.  Fitzgerald went to Kennamer’s ranch and, with the
assistance of the sheriff’s department, identified Fitzgerald’s cattle and hauled them
home.  Fitzgerald contacted Noblitt’s daughter, Sue, about retrieving Noblitt’s cattle,
and Sue insisted that she would retrieve the cattle herself.   
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Five months later, on September 12, 2004, Kennamer was working on his ranch
with James Sutton.  The men were each driving ATVs and checking fences.  Sutton
was working on one side of the pasture, and Kennamer was working on the other.  At
some point, Sutton looked up and saw Kennamer racing toward the woods on his
ATV with a red cow chasing after him.  Sutton saw the cow hit the back of the ATV
and flip it up, throwing Kennamer off.  Sutton found Kennamer lying unconscious
and not breathing.  Sutton performed CPR and Kennamer was “life-flighted” to the
hospital.  Kennamer survived, but sustained severe injuries to his head, chest, and
legs.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellants sued Noblitt’s estate for negligence, asserting that Kennamer was
“viciously attacked by wild cows belonging to [Noblitt],” and that his injuries, for
which he sought $2M in damages, were proximately caused by the negligence of
appellees in failing to keep “their wild cows [sic]” on their property and failing to
warn Kennamer of the “wild cows and the injuries these wild cows could inflict.” 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;According to Kennamer, the cow that attacked him was branded with an
“upside down U.”  According to Fitzgerald and area ranchers, Fitzgerald’s, and not
Noblitt’s, cows were branded with a “U.”
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellees moved for summary judgment on the ground that they did not own
the “attacking cow.”  To their motion, appellees appended as their evidence excerpts
of the deposition testimony of Kennamer; Fitzerald; Sutton; Kenny Shaw, an area
rancher who knew Noblitt; and Milton Sims and Johnny Hobbins, who knew Noblitt
and were familiar with his cattle.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In their response to the motion for summary judgment, appellants contended
that “[t]he only issue at bar is the relationship between Noblitt and the cow,” that the
evidence on the issue of ownership is conflicting, and that therefore a fact issue
precludes summary judgment.  To their response, appellants appended excerpts of the
deposition testimony of Fitzgerald, Sutton, and Sims. 
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On February 1, 2008, the trial court granted summary judgment in favor of
appellees.  This appeal ensued.Summary Judgment
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellants contend that the trial court erred by granting summary judgment in
favor of appellees because a genuine issue of material fact exists that precludes
summary judgment, namely, the ownership of the cow.
A.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Standard of Review
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We review a trial court’s ruling on a motion for summary judgment de novo.
Valence Operating Co. v. Dorsett, 164 S.W.3d 656, 661 (Tex. 2005). A summary
judgment under Rule of Civil Procedure 166a(c) is properly granted only when a
movant establishes that there are no genuine issues of material fact and that he is
entitled to judgment as a matter of law. Tex. R. Civ. P. 166a(c); KPMG Peat Marwick
v. Harrison County Hous. Fin. Corp., 988 S.W.2d 746, 748 (Tex. 1999). A defendant
moving for summary judgment must either (1) disprove at least one element of the
plaintiffs’ cause of action or (2) plead and conclusively establish each essential
element of an affirmative defense to rebut the plaintiffs’ cause. Cathey v. Booth, 900
S.W.2d 339, 341 (Tex. 1995). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;First, the movant must conclusively establish its right to judgment as a matter
of law. See MMP, Ltd. v. Jones, 710 S.W.2d 59, 60 (Tex. 1986). A matter is
conclusively established if reasonable people could not differ as to the conclusion to
be drawn from the evidence.  City of Keller v. Wilson, 168 S.W.3d 802, 816 (Tex.
2005).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Then, if the movant conclusively establishes its right to judgment, the burden
shifts to the non-movant to respond with evidence raising a genuine issue of material
fact that would preclude summary judgment.  See Rhone-Poulenc, Inc. v. Steel, 997
S.W.2d 217, 222–23 (Tex. 1999) (explaining that non-movant has no burden to
respond to summary judgment motion unless movant conclusively establishes its
cause of action or defense).  In deciding whether there is a disputed material fact
precluding summary judgment, evidence favorable to the non-movant will be taken
as true, every reasonable inference must be indulged in favor of the non-movant, and
any doubts must be resolved in favor of the non-movant. Dorsett, 164 S.W.3d at 661.
B. &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicable Law
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Here, appellants sued appellees for negligence.  To prevail on a negligence
cause of action, a plaintiff must show proof of (1) a legal duty owed by one party to
another, (2) a breach of that duty, and (3) damages proximately caused by that breach. 
D. Houston, Inc. v. Love, 92 S.W.3d 450, 454 (Tex. 2002). &nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellees asserted in their motion for summary judgment that the evidence
negated the elements of duty and breach.  Whether appellees breached a legal duty
owed to appellants depends on the duty, if any, that the law imposes on appellees. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Texans do not have a common-law duty to fence in their livestock.  Gibbs v.
Jackson, 990 S.W.2d 745, 747–50 (Tex. 1999); Harlow v. Hayes, 991 S.W.2d 24, 27
(Tex. App.—Amarillo 1998, pet. denied).  Any duty to restrain livestock is statutory. 
Gibbs, 990 S.W.2d at 747–48, 750 (examining stock owners’ duties to contain
livestock and expressly disapproving of cases holding that person who owns or is
otherwise responsible for livestock has duty to prevent livestock from roaming, in
absence of local stock law); Goode v. Bauer, 109 S.W.3d 788, 791 (Tex.
App.—Corpus Christi 2003, pet. denied).  In those counties that have adopted local
stock laws, an owner of livestock may not permit the stock to run at large under
section 143.074 of the agriculture code.&nbsp;. . .”  Goode, 109 S.W.3d at 791 (citing Tex.
Agric. Code Ann. § 143.074) (Vernon 2004)) (emphasis added).  “Section 143.074
is not a penal statute; rather, it creates a duty on the keepers of livestock in counties
that have adopted local stock laws to restrain their cattle.  It is designed to protect all
persons and property from wandering animals. . . .” Id. at 792; see also Gibbs, 990
S.W.2d at 750 (recognizing that Chapter 143 establishes civil liability for livestock
owners who violate its provisions).  
&nbsp;
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Hence, any duty appellees owed with regard to the cow in this case arises under
statute.


 Ownership or control of the livestock at issue is a sub-element of duty.  See
Koepke v. Martinez, 84 S.W.3d 393, 396 (Tex. App.—Corpus Christi 2002, pet.
denied).  The non-existence of a duty ends the inquiry.  Van Horn v. Chambers, 970
S.W.2d 542, 544 (Tex. 1998).
C.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Analysis
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Here, appellants alleged in their petition that
[t]he attack of the wild cows [sic] owned by Defendants and resulting
serious, permanent and disabling injuries to the Plaintiffs were each
proximately caused by the negligence, ordinary and/or gross negligence,
of the Defendants . . . including but not limited to: (1) In failing to keep
their wild cows on Defendants’ property; (2) In failing to warn Plaintiffs
of the wild cows and the injuries these wild cows could inflict; and (3)
In other particulars to be shown by proper amendment prior to trial.
(Emphasis added.)  There is not an allegation that appellees controlled the cow at
issue other than through ownership.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In their motion for summary judgment, appellees contended that the evidence
showed that they did not own the cow, which negated the duty element of appellants’
negligence claim.  See Cathey, 900 S.W.2d at 341. As evidence to support their
contention, appellees appended to their motion excerpts of the deposition testimony
of Kennamer, Sutton, Fitzgerald, Sims, and Shaw, which they incorporated into their
motion by reference.  Depositions are proper summary judgment evidence when
referred to or incorporated into a motion for summary judgment. See Rangel v. Lapin,
177 S.W.3d 17, 21 (Tex. App.—Houston [1st Dist.] 2005, pet. denied).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Kennamer testified that the cow that attacked him was “solid red” in color, was
“Brahman and possibly Hereford” in breeding, had horns at least 18 inches in length;
and “had some ear notches that were common to Noblitt cattle”—which he
“believe[d]” were three or four notches on the outer rim of the left ear, but “could
have been” more.  Kennamer also testified that he “didn’t really use the marks to
identify the cow.”  Kennamer testified that the cow that attacked him was branded
with “kind of an upside down U.” When asked how he knew it was Noblitt’s cow,
Kennamer responded that it was by “just observing the cow for, hell, 10 years, I
guess,” and that “[i]t’s just the same way you would identify your son.  You’d
recognize him.”
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Kennamer first testified that he had seen the cow for several years and knew
the cow, but that he had never complained to Noblitt about her.  He later testified that
the cow “didn’t come across the fence while [Noblitt] was alive.” Kennamer also
testified that there were no breaks in the fencing between Noblitt and Kennamer;
rather, the cow had been in another pasture on Kennamer’s own property and, on the
day of the incident, there was a break in Kennamer’s own cross-fencing, which
allowed the cow to get into the pasture with Kennamer and injure him.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Sutton testified by deposition that, on the day of the incident, he and Kennamer
were on ATVs, checking fences.  Sutton was working on one side of the pasture,
while Kennamer worked on the other.  At some point, Sutton looked up and saw
Kennamer racing toward the woods on his ATV with a red cow chasing him.  Sutton
saw the cow hit the back of the ATV and flip it up, throwing Kennamer off.  Sutton
found Kennamer lying unconscious and not breathing.  Sutton testified that the cow
was “ribby” and had “two real high horns on her,” about 12 inches long on each side.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Sutton testified that he did not know whose cow it was or from where it came. 
After the incident, Sutton found a break in the common fence between Kennamer’s
land and a wildlife preserve, known as “Hunt Woods,” that adjoined Kennamer’s
land.  Sutton testified that this was the only downed fence that he found and that he
had frequently seen cattle on the government land.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Fitzgerald’s deposition testimony was that he had been running his own cattle
with Noblitt’s herd on Noblitt’s ranch since 2001.  Fitzgerald described specific
events that had occurred while working the herd, and Fitzgerald explained that some
of the cattle could get aggressive and were dangerous but that “you always got [sic]
danger in cattle.”  Fitzgerald testified that he and Noblitt would sell the
unmanageable cattle at auction as they could catch them.  Fitzgerald reported that, on
one occasion, one of Noblitt’s cows (other than the one at issue) had injured a man
on horseback at an auction barn.  Fitzgerald noted that he had called the auction barn
and warned them about the cow. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Fitzgerald testified that, after Noblitt’s death in 2003, Fitzgerald continued to
take care of the herd until April 2004, when they “got out and got into Kennamer’s.” 
When the cattle got out, Kennamer called Fitzgerald to retrieve them.  Fitzgerald went
to Kennamer’s ranch with sheriff’s deputies, who examined ear tags, loaded up
Fitzgerald’s cattle, and brought them home.  Fitzgerald said that Noblitt’s cattle were
left on Kennamer’s property and that he contacted Noblitt’s daughter, Sue, about
retrieving them.  He told Sue that the cattle could get aggressive, but Sue insisted that
she would retrieve them herself.   
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Fitzgerald testified that Noblitt had some red Brangus crossbreds, that some
had horns, and that none of them were branded.  Noblitt typically, although not
always, used a single notch on the bottom of the left ear and tipped the right. 
Fitzgerald further testified that his own cattle were red in color, had horns, and were
branded with “a walking U right behind the left shoulder,” which is a “U” with two
little lines coming down from it.”  Fitzgerald testified that “[i]f [the cow] had a
Walking U on her, it was mine.”
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Shaw also testified that Fitzgerald branded his own cattle with a “U with two
little legs under it” and that Noblitt did not brand his herd.  Shaw testified that
Kennamer’s description of the cow that attacked him as “solid red with horns that
were 18 inches or longer on each side” did not describe any of Noblitt’s cattle.  Shaw
further testified that Noblitt’s cattle were healthy and in good condition.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Hobbins also testified that Fitzgerald branded his cattle with a “U,” that Noblitt
did not brand his cattle, and that Kennamer’s description of a cow with a “U” brand
would be Fitzgerald’s cow.  Hobbins further testified that Noblitt did not own any
solid red cows.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Sims testified that Noblitt had a “hundred and some odd head of cattle”; that
some were some “partly” red in color, but none were solid red; that some had horns,
but that most of them were not over six or eight inches because they had been tipped;
and that Noblitt did not brand his cattle.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Regarding the scope of review for summary judgments, City of Keller instructs
that “there is only one standard—a reviewing court must examine the entire record
in the light most favorable to the nonmovant, indulging every reasonable inference
and resolving any doubts against the motion.” 168 S.W.3d at 824 (emphasis added). 
We “do not disregard the evidence supporting the motion,” because if we did, “all
summary judgments would be reversed.”  Id. at 824–25.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Here, considering all the evidence presented by the movant in the light that
supports the non-movant, as we must, we accept as true the testimony of the non-movant, Kennamer, that the cow was red; that she had horns of 12–18" in length, as
Kennamer and Sutton testified; that she had three, four, or more ear notches; and that
she was thin, ribby, and aged.  We accept as true Kennamer’s testimony that the cow
that attacked him was branded with “kind of an upside down U.”
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We cannot ignore, however, the movant’s evidence that Fitzgerald testified that
his own cows had escaped onto Kennamer’s property five months prior; that his own
cows are branded with a “walking U,” which is a “U” with two little lines coming
down from it”; and admitting that, if the cow was branded with a “U,” she was his
cow.  See id. at 822 (explaining that we may not disregard evidence that allows only
one inference).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellees’ burden, as the movant, was to conclusively establish their right to
judgment as a matter of law.  See MMP, Ltd., 710 S.W.2d at 60.  Because Fitzgerald
admitted, against his own interest, that the cow at issue belonged to him, we conclude
that reasonable people could not differ in the conclusion to be drawn from the
evidence, that is, that Fitzgerald owned the cow.  See City of Keller, 168 S.W.3d at
816 (“A matter is conclusively established if reasonable people could not differ as to
the conclusion to be drawn from the evidence.”). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Once, appellees negated the duty element of appellants’ claim and established
their right to judgment, the burden shifted to appellants to respond with controverting
evidence raising a genuine issue of material fact that would preclude summary
judgment. See Rhone-Poulenc, Inc., 997 S.W.2d at 222–23.  In their response to
appellees’ motion for summary judgment, appellants contended that a material fact
issue regarding the ownership of the cow precluded summary judgment.  Appellants
appended excerpts of the deposition testimony of Sutton, Fitzgerald, and Sims.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellants first contended that evidence giving rise to an issue of material fact
concerning whether appellees owned the cow at issue was “whether the cow that
attacked Kennamer was or was not branded.”  As discussed above, we accept as true
the testimony of Kennamer, the non-movant, that the cow was branded.  Examining
the entire record, however, the evidence also shows that the brand was that of
Fitzgerald.  Appellees presented no controverting evidence that the brand on the cow
at issue was that of Noblitt.  See e.g., Tex. Agri. Code Ann. §&nbsp;144.043 (Vernon
2004) (stating, “Any dispute about an earmark or brand shall be decided by reference
to the mark and brand records of the county clerk, and the mark or brand of the oldest
date prevails.”).  The dissent focuses on fact issues such as whether the cow was red.
The relevant inquiry is not whether the summary judgment proof generally raises fact
issues, but whether the summary judgment proof establishes as a matter of law that
there is not a genuine issue of material fact.  Rhone-Poulenc, Inc., 997 S.W.2d at 223. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Next, appellants point to Kennamer’s testimony that he had, on a prior
occasion, seen the cow that attacked him on Noblitt’s ranch, as evidence giving rise
to a genuine issue of material fact.  The uncontroverted evidence, however, is that
Fitzgerald’s cattle had also been running on Noblitt’s ranch since 2001.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellants next point to evidence that Noblitt’s cattle had come onto
Kennamer’s ranch months before the incident, as evidence giving rise to a genuine
issue of material fact.  The uncontroverted evidence shows, however, that Noblitt’s
and Fitzgerald’s cattle were on Kennamer’s property in April 2004.  In addition,
evidence that Noblitt’s cattle came onto Kennamer’s ranch five months prior to the
incident at issue is not evidence that the cow that attacked Kennamer on this day was
Noblitt’s cow.  Moreover, Kennamer himself testified that the only fence down was
his own cross-fence, and Sutton, who testified on Kennamer’s behalf, stated that the
only fence down was between Kennamer’s land and the adjoining wildlife preserve,
where cattle were known to be.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Finally, appellants point to Fitzgerald’s testimony that some of the cows were
aggressive and dangerous, as evidence giving rise to a genuine issue of material fact.
The evidence shows that, although Fitzgerald testified that some of the cattle could
get aggressive and were dangerous, he explained that “you always got [sic] danger
in cattle.”  Evidence that other cows in other circumstances at some point in the past
acted aggressively—or acted in conformity with how cows are generally expected to
behave—is not evidence that the cow in this case belonged to Noblitt.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We disagree that this evidence rises to a level that creates a genuine issue of
material fact.  We conclude that, as a matter of law, appellees have carried their
burden to disprove at least one element of appellants’ cause of action, namely, duty.
See Cathey, 900 S.W.2d at 341. Accordingly, the rendition of summary judgment on
this ground was proper.  See  Tex. R. Civ. P. 166a(c); KPMG Peat Marwick, 988
S.W.2d at 748.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Accordingly, we overrule appellants’ sole issue.
&nbsp;
&nbsp;
&nbsp;
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ConclusionWe affirm the judgment of the trial court.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Laura Carter Higley&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice
Panel consists of Chief Justice Radack and Justices Higley and Nuchia.



Appellants moved for rehearing to the panel and for en banc reconsideration to the
Court.  See Tex. R. App. P. 49.1, 49.7.
The panel denied the motion for rehearing addressed to it, leaving pending the motion
for en banc reconsideration, which maintained the Court’s plenary power over the
case.  See Tex. R. App. P. 19.1, 49.3.
During the pendency of the motion for en banc reconsideration, the Court sua sponte
withdrew its opinion and judgment issued January 8, 2009, thus rendering moot the
motion for en banc reconsideration. Cf. Brookshire Bros., Inc. v. Smith, 176 S.W.3d
30, 41 n.4 (Tex. App.—Houston [1 Dist.] 2004, pet. denied) (op. on reh’g).
After the Court’s withdrawal of its January 8, 2009 opinion and judgment, during the
pendency of the Court’s plenary power over the case, and before another opinion and
judgment had issued in the case, en banc consideration was requested from within the
Court. See Tex. R. App. P. 41.2(c).

Chief Justice Radack and Justices Jennings, Keyes, Alcala, Hanks, Higley, Bland,
Sharp, and Nuchia participated in the vote to determine en banc consideration.
A majority of the Justices of the Court voted to deny en banc consideration. See id.
Justice Keyes, joined by Justice Sharp, dissenting from the denial of en banc
consideration. See id.


